     Case: 1:19-cv-05416 Document #: 46 Filed: 07/14/20 Page 1 of 2 PageID #:270

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Commodity Futures Trading Commission
                                               Plaintiff,
v.                                                            Case No.: 1:19−cv−05416
                                                              Honorable Andrea R. Wood
Yukom Communications Ltd., et al.
                                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 14, 2020:


        MINUTE entry before the Honorable Andrea R. Wood: Telephone motion and
status hearing held on 7/14/2020. Discovery is stayed. For the reasons stated on the
record, Plaintiff's motion for entry of default [39] is granted in part and denied in part. The
motion is granted as to Defendants Linkopia Mauritius Ltd, Wirestech Limited, WSB
Investment Ltd, Zolarex Ltd., and Lee Elbaz. The Court enters default pursuant to Fed. R.
Civ. P. 55(a) as to those Defendants. The motion is denied without prejudice as to
Defendants Yossi Herzog, Shalom Peretz, and Yukom Communications Ltd. (Yukom).
The motion at docket entry [37] is terminated. The Court grants Plaintiff's oral motion to
modify the prior service order. Defendants Herzog, Peretz, and Yukom will be deemed
served on the latter of (1) the date when the summons and complaint were sent to their last
known address by ordinary mail; (2) the date the summons and complaint were sent to the
email address they have used in the past; or (3) 90 days after the publishing of notice in
the Times of Israel. Telephone status hearing set for 11/5/2020 at 9:15 AM. To ensure
public access to court proceedings, members of the public and media may call in to listen
to telephonic hearings. The call−in number is (888) 557−8511 and the access code is
3547847. Counsel of record will receive an email 30 minutes prior to the start of the
telephonic hearing with instructions to join the call. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court−issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court.Mailed notice(dal, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
  Case: 1:19-cv-05416 Document #: 46 Filed: 07/14/20 Page 2 of 2 PageID #:271


For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
